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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            Eastern Division



 UNITED STATES OF AMERICA

 -vs-                                        Case No. 1:17-10082-STA

 NORISSA WILLIAMS


                             ORDER TO SURRENDER

        Defendant, Norissa Williams, having been sentenced in the above

 styled matter to the custody of the Bureau of Prisons, and having

 been granted leave by the court to             report to the designated

 institution at her own expense, is hereby ordered to surrender

 herself to the Bureau of Prisons by reporting to: FCI Greenville

 SCP, 100 U.S. Hwy 40, Greenville, IL 62246, no later than Wednesday,

 May 1, 2019 by 12:00 Noon.

        IT IS FURTHER ORDERED that upon receipt of a copy of this Order

 the defendant shall sign one copy of this Order in the proper space

 below and return it to the Clerk of the Court in the enclosed

 stamped self-addressed envelope, acknowledging that she has received

 a copy of this Order, and that she will report as ordered to the

 facility named above.

        IT IS SO ORDERED this the 22nd      day of March, 2019.



                                    s/ S. Thomas Anderson
                                    CHIEF U.S. DISTRICT COURT JUDGE
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                                    s/ S. Thomas Anderson
                                    CHIEF U.S. DISTRICT COURT JUDGE
Case 1:17-cr-10082-STA   Document 214   Filed 03/22/19   Page 3 of 4   PageID 744



 Norissa Williams - 17-10082




                               ACKNOWLEDGMENT



 I agree to report as directed in the above order and understand that

 if I fail to so report, I may be cited for contempt of court and if

 convicted, may be punished by imprisonment or fine or both.



 Signed and acknowledged before me on _____________________.




 ________________________                 ______________________________

 Clerk/Deputy Clerk                       Defendant
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 Norissa Williams - 17-10082




                               ACKNOWLEDGMENT



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 Signed and acknowledged before me on _____________________.




 ________________________                 ______________________________

 Clerk/Deputy Clerk                       Defendant
